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              EXHIBIT 23
                   Case 3:16-md-02741-VC Document 2791-23 Filed 02/21/19 Page 2 of 15
   Message
   From :                            [                g@fcs-feinchemie.com]
   Sent :          7/19/2012 10:18:12 AM
   To:                                                  [/O=MONSANTO/OU=EA-5041-01/cn=Recipients/cn=83930]; Pepita Duran
                             @gtaduran.com];                                    [/O=MONSANTO/OU=EA-5041-
                   01/cn=Recipients/cn=107838];                     r@arystalifescience.com;
                                           n@cheminova. com];           @dow.com;              t@at.nufarm.com;
                                   z@syngenta.com;        @afrasa.es;          @agria.bg; '                           s@Laronkarn.co.uk];
                             @agrotrade.de;        @etracoms.com;                 <@agrichem.nl;    @barclay.ie;
                                         @bros.pl];           @excelcropcare.com;                   r@helmag.com;              c@pinus-
                   tki.si;          c@rotam.com;                                 ar@sabero.com];                    @sfp-rd.com;
                             @uk.exponent.com;           @agro.sapec.pt;            @uniphos.com;            g@wynca.com
   CC:                                        @live.co.uk];                               [/O=MONSANTO/OU=EA-5040-
                   01/cn=Recipients/cn=233911]; HEYDENS, WILLIAM F [AG/1000] [/O=MONSANTO/OU=NA-1000-
                   01/cn=Recipients/cn=230737]; SALTMIRAS, DAVID A [AG/1000] [/O=MONSANTO/OU=NA-1000-
                   01/cn=Recipients/cn=DASALT];                                        [/O=MONSANTO/OU=EA-5041-
                   01/cn=Recipients/cn=107838]
   Subject :       AW: Genotox Review: your approval requested!




   Dear




   FCS agrees to the additional costs as well.




   Best regards,




   Von:
   Gesendet : Mittwoch, 18. Judi 2012 19:12
   An:                                    Pepita Duran;
                  @arystalifescience.com;                    ;         @dow.com;                   ;
              t@at.nufarm.com;              z@syngenta.com;      @afrasa.es;           @agria .bg;
         @agrotrade.de;        @etracoms.com;                @agrichem.nl;     @barclay.ie;                   ;
              @excelcropcare.com;                 r@helmag.com;             @pinus-tki.si;           @rotam.com;
          ;                 @sfp-rd.com;        @u k.exponent.com;        @agro.sapec.pt;             @uniphos.com;
               @wynca.com
   Cc:                                                    HEYDENS, WILLIAM F (AG/1000); SALTMIRAS, DAVID A
   (AG/1000);
   Betreff : Genotox Review: your approval requested!
   Wiichtiigkeit: Hoch




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   URGENT REQUEST




   Dear RWG,




   As part of the GTF literature review the RWG and Board agreed to ask Larry Kier (former Monsanto expert and now
   independent consultant) to write a genetox review paper on technical glyphosate and glyphosate based Plant Protection
   Products. This paper would pool data from confidential 'i-askforce Member studies which was the reason why David
   Saltmiras (MON), chair to the tox-TWG, stepped down as a co-author for this paper. In addition when trying to combine
   both reviews (on technical glyphosate and PPPs) the manuscript turned into such a large mess of studies reporting
   genetoxic effects, that the story as written stretched the limits of credibility among less sophisticated audiences. For
   most `stories', the approach would have been fine. But even though we feel confident that glyphosate is not genotoxic,
   this became a very difficult: story to tell given all the complicated 'noise` out there. So David Saltmiras, Larry Kier and Bill
   Heydens consulted by other Monsanto tox experts thought there was a need to re-group & redesign the approach to the
   manuscript.




   The suggested approach was to s plit-up the reviews in 2 papers (one on tech glyphosate and one on PPPs). In addition it
   Was suggested that one way to help enhance credibility is to have an additional author on the papers who i s a renowned
   specialist in the area of genotoxicity . Larry Kier did a search for possible co-authors and came up with 5 . After internal
   discussion and some checking by David Saltmiras with fellow TWO tox folks (see extracts from TWG-meeting minutes
   below ),                    was identified as the best candidate.




                   is an independent consultant with a history at Covance Laboratories. He is an expert in `COMET"--assays,
   on PPPs and is member of the editorial board for 'Mutagen Research' and member of the Environmental Mutagen
   Society in the UK.                 would most definitely add substantial expertise and credibility to this critical paper.




   The initial cost: estimate for this manuscript: was 9k$ (approved by the board).

   Adding                  as a co-author to both review papers would add £14,000 (pounds Stirling) to the project, which
   split by 25 seems a fair investment.




   Please let me know as soon as possible if we have your support to proceed with                       as a co-author. We need
   a decision soon since                  only has the month of august to work on the papers.




   David , Bill, please let me know i f I missed or misinterpreted something.




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   Best: regards,




   From : SALTMIRAS, DAVID A [AG/1000]
   Sent : Wednesday, July 18, 2012 4:54 PM
   To:
   Subject : RE: Genotox Review




   Below are extracts from recent meeting minutes this month.                    was discussed as a strong candidate to
   coauthor on July 2nd and ToxTWG endorsed hire on July 16 and plans to engage hire were put in motion.




                     a
    From Jul




                a.       Genotoxicity review manuscript.

                               i.   Discussed approaches for literature and data reviews

                               ii. Consensus gained for two companion papers on active ingredient and formulated
                                product genotoxicity data (GTF member company data and peer reviewed publications

                              iii. Co- authors with Larry Kier were discussed.                         was proposed as
                                strong candidate for this role. Syngenta proposed Barry Elliott, expressing possible
                                bias towards COMET assay data by                    . Simon will inquire within the
                                 Syngenta genotox group on suitability of                  to provide an objective
                                scientific review including weight of evidence for the full data set (GTF member study
                                reports and peer reviewed publications).

                                    o NOTE : Larry had contacted                  yesterday to discuss the paper and
                                       Larry contacted David Saltmiras today (Tuesday July ")
                                                                                           ) to debrief

                                    o Larry is convinced that                  will provide a strong technical skill set to
                                       evaluate the breadth of data including the COMET data {weighing convenience of




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                                           COMET assays with credible data interpretability) and believes
                                           would be an excellent choice to co-author the manuscript.

                                       o                   is available to work on this project in August/Sept and submit to
                                           the journal by the end of September.

                                 iv.   Still targeting Critical Reviews in Toxicology, based on the length of these papers.

                                       o Larry has briefly discussed with the chief editor of Critical Reviews in 7o:^:icology
                                          (Roger McClellen), who expressed concern that the GTE' member study reports
                                          are not public (weighing in on negative genotox results) vs the publication record
                                          (weighing in on positive genotox results). This will present itself as an issue with
                                          any credible journal. To have credibility, rather than make all study reports
                                          public, the GTF may consider submitting all the genotoxicity study Tier IT
                                          Summaries from the dossier (which may well fall into the public domain) as
                                          supplementary data to the journal.

                                       o Please email David Saltmiras regarding this approach of submitting the TITS
                                          for genotox studies as supplementary data. if your company owns
                                          genotoxicity data.




                           r..
     Fr~orrr QTrrl    Xh




2.   Genotoxicity review manuscript




                     a.    David Saltmiras will circulate contact information for            for individual companies
                           to arrange CDAs (Arysta LifeScience, Cheminova, Excel Crop Care, Feinchemie Schwebda,
                           Helm, Nufarm, Syngenta).




                     b.    Data for manuscript




                                  i. General agreement was reached to provide member company study methodology and
                                  data summaries as supplementary information in support of publications on (i) active
                                  substance and (ii) formulated products.




                                 ii.   Study summaries and citations should be sanitized to exclude

                                       o Study director names




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                                 o Data owner/company name




                          iii.   Study summaries and citations may include

                                 o Study/report number

                                 o Study/report title

                                 o Year of study/report

                                 o Performing laboratory (not necessary, sometimes deleted/sanitized for public
                                    information like DARs)

                                 o Test substance purity (for active substance)

                                 o Formulation type (for formulated product)

                                 o Note of whether GLP or non-GLP

                                 o Test Guideline(s) followed (OECD/US EPA, JMAFF, etc.

                                 o Brief description of methodology

                                 o Summarized data tables




                          iv.    Transfer of study information between coauthors

                                 o Larry Kier needs to email a rider/CDA amendment for each company to grant him
                                    permission to share data with

                                 o Larry Kier and                  should sign a CDA with eachother.




   Toxicology Manager
   Regulatory P roduct Safety Center
   Monsanto




           From :
           Sent : Wednesday, July 18, 2012 9:40 AM
           To: SALTMIRAS, DAVID A [AG/1000]




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                  Case 3:16-md-02741-VC Document 2791-23 Filed 02/21/19 Page 7 of 15
           Cc:                                          HEYDENS, WILLIAM F [AG/1000]
           Subject : RE: Genotox Review




           Will do!!




           From : SALTMIRAS, DAVID A [AG/1000]
           Sent : Wednesday, July 18, 2012 3:47 PM
           To:
           Cc:                                  HEYDENS, WILLIAM F [AG/1000]
           Subject : FW: Genotox Review
           Importance: High




           Christophe,




           Will you please take this to the RWG ASAP? At this point we have an open Monsanto contract with
                       CDA's with individual member companies are being initiated and Larry Kier plans to get a draft
           manuscript to him by the end of the month (i.e. in less than 2 weeks).                           is only available to work in this
           project: in August and a    rnvtjl__L.^f_his i nv o lvement j_s_sts !2 ly r s ^ rr rr   rd   k   th   T   T r   If our time lines
           slip on this we will probably not have a genotoxicity review manuscript available for our submission window in
           January.




           Is there a way to get this through the RWG in a week?




           Thanks,




           Th 'Id-Sal     Irasa        '_),.S-3,1T
           Toxicology Manager
           Regulatory Product Safety Center
           Monsanto




           From :
           Sent : Wednesday, July 18, 2012 8:24 AM




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                   Case 3:16-md-02741-VC Document 2791-23 Filed 02/21/19 Page 8 of 15
           To: HEYDENS, WILLIAM F [AG/1000]; SALTMIRAS, DAVID A [AG/1000];

           Cc: LEMKE, SHAWNA LIN [AG/1000]; KRONENBERG, JOEL M [AG/1000]
           Subject : RE: Genotox Review




           I think it has to go through the normal process- 'T'WC to RWG to Board, with documented agreement at each
           stage. Once the RWG has agreed we can do the Board by email.

           I think Bill H's summary could be a good basis for getting RWG alignment:.

           BiIIO




           From : HEYDENS, WILLIAM F [AG/1000]
           Sent : Tuesday, July 17, 2012 5:54 PM
           To:                                SALTMIRAS, DAVID A [AG/1000];

           Cc: LEMKE, SHAWNA LIN [AG/1000]; KRONENBERG, JOEL M [AG/1000]
           Subject : RE: Genotox Review




           David & I were just touching base on a couple things, and we were wondering what your thinking is on how to
           progress this with the Board - let us know - thanks.




           From : HEYDENS, WILLIAM F [AG/1000]
           Sent : Friday, July 13, 2012 1:09 PM
           To: HEYDENS, WILLIAM F [AG/1000];                                      SALTMIRAS, DAVID A [AG/1000];

           Cc: LEMKE, SHAWNA LIN [AG/1000]; KRONENBERG, JOEL M [AG/1000]
           Subject : RE: Genotox Review




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           Here is my further perspective on top of David's...




           As David notes, we are still essentially talking about lines 1.2. .:13 on the Excel spreadsheet: you sent. David
           embarked on the Genetox publication work with Larry Kier as agreed by the Board.




           But here is what: transpired after that. After they got: all the studies amassed into a draft: manuscript, it
           unfortunately turned into such a large mess of studies reporting genetoxic effects, that the story as written
           stretched the limits of credibility among less sophisticated audiences. For most 'stories`, the approach would
           have been fine. But even though we feel confident that glyphosate is not genotoxic, this became a very difficult
           story to tell given all the complicated `noise' out there. So we (David, Larry, Bill H, Joel & Shawna) thought: we
           needed to re-group & redesign the approach to the manuscript. As part of that re-tooling approach, it was
           suggested that one way to help enhance credibility is to have an additional author on the paper who is a heavy-
           hitter in the area of genotoxicity. Larry did a search for possible co-authors and came up with 5. After internal
           discussion and some checking by David with fellow'I'WG tox folks, we landed on                as the best
           candidate. That has led to the request you have before you.




           So if you think there needs to be a discussion with the Board rather than trying to gain approval via e-mail, then
           we could take that approach, but this obviously slows down the process. Is there a Board phone conference
           scheduled anytime soon?




           From : HEYDENS, WILLIAM F [AG/1000]
           Sent : Friday, July 13, 2012 11:20 AM
           To:                                 SALTMIRAS, DAVID A [AG/1000];

           Subject : RE: Genotox Review




                I have to run to a meeting, but I will give you my perspective later today when you are drinking G&Ts.




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           From :
           Sent : Friday, July 13, 2012 11:17 AM
           To: SALTMIRAS, DAVID A [AG/1000];                                             HEYDENS, WILLIAM F [AG/1000];

           Subject : RE: Genotox Review




           There is a lot of information here which the Board has not, seen (to my knowledge) . The discussion of published
           surnrnaries took place at the 131-x' Meeting (March 2012) and I attach the information which was presented and
           agreed ( according to the Minutes). I think you will agree that the current situation needs to go to the Board for
           a second discussion and updated Agreement.

           If        or Bill H have any additional information about the Board discussions on this subject then I will gladly
           change my opinion.




           From : SALTMIRAS, DAVID A [AG/1000]
           Sent : Friday, July 13, 2012 3:48 PM
           To:                                                                        HEYDENS, WILLIAM F [AG/1000];

           Subject : RE: Genotox Review




           Two different projects have been merged, the first of which was well underway before the PAC was
           instituted. The initial project: was a review manuscript, of the glyphosate genotoxicity literature authored by
           Larry Kier and me (authorized Feb 22, 2011 for $9,000). The second (initiated by the PAC and supported by the
           RWG and Board, cost estimate of $1.3,195) was a review manuscript involving all glyphosate genotoxicity studies
           owned by GTF member companies on hot[) active ingredient and formulated products, authored by Larry; the
           review of GTF members' proprietary study reports prohibit my coauthorhip.




           .I.his first became a very long and tedious manuscript, which would have been difficult to publish. Following on
           from this first: draft: manuscript review, discussions with Bill H., Joel, me and Larry Kier resulted in a merging of
           the two projects (also discussed at the 'l'ox'I'WC) with a view to publish two companion manuscripts on
           glyphosate genotoxicity for the active ingredient, (paper 1.) and formulated products (paper 2). Thus Larry was



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           the sole author and given his geography and industry alignment, other highly credible genotoxicologists
           coauthors from European were sought.                       was the first choice of the GTF ToxTWG.




                             expertise comes at a premium. I believe Larry Kier significantly under charges for his services,
           but his combined cost: estimate for project 1. and project 2. is $2.2,195.               believes his efforts will be
           less than 10 days at £1,400/day (equivalent to $21,780 with the current exchange rate), so we are effectively
           doubling the cost of the combined projects, but reaping significant value/credibility from
           involvement. Given the growing number of questionable genotoxicity publications, in my mind this is worth the
           addition cost.




           I have subsequently coordinated an open master contract between Monsanto and                          (we may need
           his services in the future) and on the next ToxTWG call (Monday) will request all member companies get
           confidentiality agreements in place with him ASAP (the same CDAs as previously signed with Larry Kier, enabling
           him to see their study reports).




           Toxicology Manager
           Regulatory Product Safety Center
           Monsanto
           ph




                   From :
                   Sent : Friday, July 13, 2012 9:01 AM
                   To:                                       HEYDENS, WILLIAM F [AG/1000]; SALTMIRAS, DAVID A
                   [AG/1000];
                   Subject : Genotox Review




                   The project was initiated by the PAG and supported by the RWG and Board. The cost was $9k and I
                   thought the job had been completed. The name                         has never come to my attention before
                   and I would suggest that the RWG needs to explain to the Board why , at this point, it believes that
                   trebling the expenditure to include a second author is a justifiable expense.

                   I wonder if this is a true PAG project where those companies who want to see this work carried out pay
                   for it.




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                   I have received questions about future expenditure and I cannot see it on          list which went to
                   the Board for approval/discussion last month.




                   From :
                   Sent : Friday, July 13, 2012 2:04 PM
                   To: HEYDENS, WILLIAM F [AG/1000]; SALTMIRAS, DAVID A [AG/1000]
                   Cc:
                   Subject : RE: A FedEx shipment [793774060139] was created.




                   Hi Bill,




                   .I.he proposal sounds very reasonable and having                co-authoring this paper can only
                   strengthen the case. Since the board has approved the project I agree it makes sense to ask the board
                   directly to approve the extra funding. It I don't seem to remember this (adding         being
                   discussed at RWG level but could be wrong. If not I'll send out an update message to make sure
                   everyone is on the same page.




                   Regards,




                   From : HEYDENS, WILLIAM F [AG/1000]
                   Sent : Thursday, July 12, 2012 10:52 PM
                   To: SALTMIRAS, DAVID A [AG/1000];
                   Cc:
                   Subject : RE: A FedEx shipment [793774060139] was created.




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                   We (David, Joel, Kier, me) think we should proceed with pursuing              as a co--author for the
                   glyphosate genetox publication. David also got some other toxicologist feedback from within the 'T-ox
                   TWG and that was favorable as well.




                   So how should we proceed? For expediency, since this project: is already supported by the Board, could
                   we have       go directly to the Board by sending out a note asking them to approve contracting with
                             for an estimated maximum amount of £14,000?




                   Thanks.




                   From : SALTMIRAS, DAVID A [AG/1000]
                   Sent : Thursday, July 12, 2012 11:03 AM
                   To: HEYDENS, WILLIAM F [AG/1000];
                   Subject : FW: A FedEx shipment [793774060139] was created.




                   Bill &




                   We (Monsanto) have a signed master contract with                        This will enable him to coauthor the
                   genotoxicit:y review paper with Larry Kier, as well as engaging him on any other projects which may
                   come up.... it may be necessary to have an EU based expert in genotoxicity on hand if issues arise during
                   the regulatory review.




                   Please note          estimated cost, below, which will need S-TTF board approval .....he thinks likely less
                   than 1.0 days work (at £1,400/day).




                   Toxicology M anager
                   Regulatory Product Safety Center




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                   Monsanto
                   ph




                   From :                 [ maiIto:                        ]
                   Sent : Thursday, July 12, 2012 10:49 AM
                   To: SALTMIRAS, DAVID A [AG/1000]
                   Subject : RE: A FedEx shipment [793774060139] was created.




                   David,




                   Daily rate is equivalent to 8 hours, namely GBP1400 per day.




                   I estimate a maximum of 1.0 days (i.e. GBP:14,000) but unless I have to delve very deeply into a lot of the
                   reports and papers that Larry includes, it should be less than this.




                   Kind regards,




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